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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov

IN RE:
                                                           CASE NO.: 24-21209-LMI
SHIFTPIXY, INC.,                                           CHAPTER 7

                 Debtor.
                                      /

                           NOTICE OF APPOINTMENT OF TRUSTEE


         The United States Trustee for Region 21, Mary Ida Townson, through her

undersigned counsel, pursuant to Title 11, United States Code, Section 701, has appointed:

                                    ROBERT ANGUEIRA

as Trustee of the Estate of the above-styled Debtor(s). The Trustee’s bond is fixed under

the general blanket bond heretofore approved.

         Dated: January 31, 2025

                                              MARY IDA TOWNSON
                                              UNITED STATES TRUSTEE
                                              REGION 21


                                              By: /s/ Heidi A. Feinman
                                               Heidi A. Feinman, Assistant United States Trustee
                                               Office of the United States Trustee
                                               51 SW First Avenue, Ste. 1204
                                               Miami, Florida 33130
                                               Tel: (305) 536-7285
                                               Fax: (305) 536-7360
                                               Email: Heida.A.Feinman@usdoj.gov
